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                                                                    (SPACE BELOW FOR FILING STAMP ONLY)


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6      Special Counsel for Plaintiff,
       Carolyn Dye, Chapter 7 Trustee
7

8                                    UNITED STATES BANKRUPCY COURT

9                       CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

10     In Re:                                               Case No.: 2:24-bk-11660-DS
11     KEITH WONKI BAE,                                     Chapter 7
12                        Debtor.                           Adversary Case No.: 2:24-ap-01169-DS
       _______________________________________
13     CAROLYN DYE,
       Chapter 7 Trustee,
14                                                          NOTICE OF CONTINUANCE OF
                               Plaintiff,                   STATUS CONFERENCE
15                vs.
                                                            Continued Status Conference:
16     KEITH WONKI BAE, an individual; ESTHER               DATE:         January 7, 2025
       BAE, a/k/a ESTHER YOON, an individual;               TIME:         1:00 p.m.
17     VICKY LEE, an individual; JAMES BAE, an              CTRM.         1639
       individual; DANIELLE HEFLIN, an individual;
18     MARIANA AYALA, an individual; ADRIANA
       AYALA, an individual; ERICK GABRIEL, an
19     individual; ANTONIO JONES, an individual;
       GUILLERMO CHANCHAVAC, an individual;
20     ALEJANDRO HERRERA, an individual; DTLA
       SOUTH PARK CORP., a California corporation;
21     BIRDIES LA, a business entity of unknown form;
       BIRDIES DTLA, a business entity of unknown
22     form ; BAE FG CORP., a California corporation;
       WOK N’ TENDERS, a business entity of
23     unknown form; DOWNTOWN KITCHEN;
       OLYMPIC KITCHEN; I SAVANT FG, a
24     California corporation; I SAVANT NORCO
       CORP., a California corporation; BIRDIES
25     NORCO CORP., a California corporation, aka
       NORCO HAMNER CORP.; CALI FG CORP., a
26     California corporation, dba DUCHESS, dba
       OLYMPIC KITCHEN, dba DOWNTOWN
27     KITCHEN; PINK PANDA INC., a California
       corporation; STUDIO CITY VALLEY FG
28     CORP., a California corporation; J & A
       DEVELOPMENT, INC., a California
29     corporation,
                             Defendants
30     815632.1                                         1
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1                 PLEASE TAKE NOTICE that a Status Conference was held in the above-captioned matter on

2      September 12, 2024, at 1:00 p.m., before the Honorable Deborah J. Saltzman, Judge Presiding. At

3      that time the Court continued the matter for a further Status Conference to January 7, 2025, at 1:00

4      p.m., in Courtroom1639.

5

6      DATED: October 28, 2024                      MIRMAN, BUBMAN & NAHMIAS

7
                                                    By: _________________________________
8                                                          MICHAEL E. BUBMAN
9                                                   Attorneys for Carolyn Dye,
                                                    Chapter 7 Trustee
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30     815632.1                                             2
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16133 Ventura Blvd., Suite 1175, Encino, CA 91436

A true and correct copy of the foregoing document described NOTICE OF CONTINUANCE OF STATUS CONFERENCE
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On October 28, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email
address(es) indicated below:

    •   Bob Benjy bob@benjylaw.com, bbenjy.esq@gmail.com
    •   Michael E Bubman mbubman@mbn.law, aacosta@mbnlawyers.com
    •   Carolyn A Dye (TR) trustee@cadye.com, c197@ecfcbis.com;atty@cadye.com
    •   Noreen A Madoyan Noreen.Madoyan@usdoj.gov
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


                                                                                            Service information continued on attached page

II. SERVED BY U.S. MAIL
On (date) October 28, 2024 served the following person(s) and/or entity(ies) at the last known address(es) in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States Mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


JUDGE’S COPY IS NOT REQUIRED.




                                                                                            Service information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (state method for each person or
entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                   I    served the     following
person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 October 28, 2024                          Ana I. Acosta
 Date                                  Type Name                                                Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                                                          F 9013-3.1
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 Los Angeles, CA 90017           Los Angeles, CA 90017               Los Angeles, CA 90020



 Mariana Ayala                   Adriana Ayala                       Erick Gabriel
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 Los Angeles, CA 90015           Los Angeles, CA 90015               Los Angeles, CA 90033



 Antonio Jones                   Gullermo Chanchavac                Vicky Lee
 3573 W. 3rd St., #121           4610 S. Central Ave., #3           400 S. Broadway, #2710
 Los Angeles, CA 90020           Los Angeles, CA 90011              Los Angeles, CA 90013



 Wok N’ Tenders                  Esther Bae                          Olympic Kitchen
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 1960 Sheridan St.               Los Angeles, CA 90013              Los Angeles, CA 90015
 Los Angeles, CA 90033


J & A Development, Inc.          Olympic Kitchen                     Downtown Kitchen
c/o Luis Vasquez                 c/o Adriana Ayala                   312 W. Olympic Blvd.
4610 S. Central Ave., #3         2301 Kent St.                      Los Angeles, CA 90015
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